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     ANTHONY WILLIAMS
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )       CASE NO.   2:11-cr-00353 MCE
                                   )
11                  Plaintiff,     )       STIPULATION AND ORDER CONTINUING
                                   )       STATUS CONFERENCE
12        v.                       )
                                   )
13   SEAN McCLENDON, et. al.,      )
                                   )       DATE:    January 26, 2012
14                  Defendants.    )       TIME:    9:00 a.m.
     ______________________________)       COURT:   Hon. Morrison England, Jr.
15
16                                    Stipulation
17        The parties, through undersigned counsel, stipulate that the
18   status conference, scheduled for January 26, 2012, may be continued to
19   March 29, 2012, at 9:00 a.m.      There are approximately 9,500 pages of
20   discovery in the case as well as recorded statements.        The additional
21   time is requested so that defense counsel can continue the review of
22   the discovery, continue investigation, and research possible defenses.
23        Further,   all   of   the   undersigned   parties   hereby   agree   and
24   stipulate that time under the Speedy Trial Act should be excluded
25   under Title 18, United States Code Section 3161(h)(7)(A) and (B)(ii)
26   and (iv), corresponding to Local code T-2 (unusual and complex case)
27   and Local Code T-4 (to allow defense counsel time to prepare) from the
28   date of the parties’ stipulation, January 26, 2012, to and including

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1    March 29, 2012.
2         The    undersigned   parties    agree      and   stipulate   that   with   the
3    voluminous discovery, the complex legal issues involved in the case
4    and the time needed by all defendants to review all of the discovery
5    produced by the government to date, it is unreasonable to expect
6    adequate preparation for pretrial proceedings and trial itself within
7    the time limits established in § 3161. In addition, the parties
8    stipulate and agree that the continuance requested herein is necessary
9    to provide defense counsel reasonable time to prepare their respective
10   clients' defenses taking into account due diligence and that the
11   interests   of justice    in   granting       this reasonable     request   for a
12   continuance outweighs the best interests of the public and defendants
13   for a speedy trial in this case, pursuant to Title 18, United States
14   Code, Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
15   Local Code T-2 (unusual and complex case) and Local Code T-4 (to allow
16   defense counsel time to prepare).
17        The parties have authorized the defense counsel for Anthony
18   Williams to sign this stipulation on their behalf.
19   DATED: January 17, 2012                      BENJAMIN WAGNER
                                                  United States Attorney
20
                                         by       /s/ Scott N. Cameron, for
21                                                Jean Hobler
                                                  Assistant U.S. Attorney
22
     DATED: January 17, 2012             by       /s/ Scott N. Cameron
23                                                Scott N. Cameron
                                                  Counsel for ANTHONY WILLIAMS
24
25   DATED: January 17, 2012             by       /s/ Scott N. Cameron, for
                                                  Preeti K. Bajwa
26                                                Counsel for SEAN McCLENDON
27   DATED: January 17, 2012             by       /s/ Scott N. Cameron, for
                                                  Douglas Beevers
28                                                Counsel for Anthony Salcedo

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1                                          Order
2          The Court, having received, read, and considered the stipulation
3    of   the   parties,   and   good   cause       appearing   therefrom,   adopts the
4    stipulation of the parties in its entirety as its order. Based on the
5    stipulation of the parties and the recitation of facts contained
6    therein, the Court finds that this case is unusual and complex and
7    that it is unreasonable to expect adequate preparation for pretrial
8    proceedings and trial itself within the time limits established in 18
9    U.S.C. § 3161. In addition, the Court specifically finds that the
10   failure to grant a continuance in this case would deny defense counsel
11   reasonable time necessary for effective preparation, taking into
12   account the exercise of due diligence. The Court finds that the ends
13   of justice to be served by granting the requested continuance outweigh
14   the best interests of the public and the defendants in a speedy trial.
15         The Court orders that the time from the date of the parties'
16   stipulation, January 26, 2012, to and including March 29, 2012, shall
17   be excluded from computation of time within which the trial of this
18   case must be commenced under the Speedy Trial Act, pursuant to 18
19   U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T2
20   (unusual and complex case) and T4 (reasonable time for defense counsel
21   to prepare). It is further ordered that the January 26, 2012, status
22   conference shall be continued until March 29, 2012 at 9:00 a.m.
23         IT IS SO ORDERED.
24
     Dated: January 23, 2012
25
26                                         _____________________________
27                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
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